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 8

 9                           UNITED STATES DISTRICT COURT
10           CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
11

12   SILVANO CABRAL ESCOBEDO,                   CASE NO.:
                                                [Los Angeles Superior Court – Central
13                      Plaintiff,              District; Case No.: 19STCV18326]
14   vs.                                        NOTICE OF REMOVAL OF ACTION
                                                UNDER 28 U.S.C. §1332 & §1441(B)
15   DOLLAR TREE STORES, INC., and              (DIVERSITY)
     DOES 1 to 100, inclusive,
16
                        Defendants.
17

18

19         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. sections 1332 and
20   1441(b),    Defendant     DOLLAR        TREE      STORES,       INC.     (“Defendant”),
21   contemporaneously with the filing of this notice, is affecting the removal of the below
22   referenced action from the Superior Court of the State of California for the County of
23   Los Angeles, to the United States District Court for the Central District of California.
24   The removal is based, specifically, on the following grounds:
25

26                     JURISDICTION AND VENUE ARE PROPER
27         1.     This is a civil action over which this Court has original jurisdiction based
28   on diversity of citizenship pursuant to 28 U.S.C. § 1332(a) and is one which may be
30                                              -1-
             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
31                          §1441(b) (DIVERSITY)
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                                        1   removed to this Court by Defendant pursuant to 28 U.S.C. § 1441(b) because it is a
                                        2   civil action between citizens of different states and the amount in controversy exceeds
                                        3   $75,000, exclusive of interest and costs, as set forth below. 28 U.S.C. §§ 1332,
                                        4   1441(a), and 1146(b).
                                        5           2.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 84(d), 1391 and
                                        6   1446.
                                        7                        PLEADINGS, PROCESS AND ORDERS
                                        8           3.   On May 28, 2019, Plaintiff, SILVANO CABRAL ESCOBEDO,
                                        9   (hereinafter “Plaintiff”) commenced the above-entitled civil action in the Superior
                                       10   Court for the County of Los Angeles by filing a Complaint therein entitled Silvan
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                                       11   Cabral Escobedo v. Dollar Tree Stores, Inc. and Does 1 to 100, Inclusive, Case No.
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                                       12   19STCV18326. A true and correct copy of Plaintiff’s Summons, Complaint, Civil
                                       13   Case Cover Sheet, Notice of Case Assignment, First Amended General Order,
                                       14   Standing Order Re Personal Injury Procedures, First Amended Standing Order,
                                       15   Alternative Dispute Resolution Information Package, and Statement of Damages are
                                       16   collectively attached hereto and incorporated by reference herein as Exhibit “A.”
                                       17           4.   On May 30, 2019, Plaintiff caused a copy of the Summons and Complaint
                                       18   to be personally served on the agent for service of process for Dollar Tree Stores, Inc.
                                       19           5.   On June 10, 2019, Defendant Dollar Tree Stores, Inc., filed its Answer to
                                       20   Plaintiff’s Complaint and Demand for Jury Trial.         A true and correct copy of
                                       21   Defendant’s Answer and Demand for Jury Trial are collectively attached hereto as
                                       22   Exhibit “B.”
                                       23           6.   The attached exhibits constitute all process, pleadings and orders served
                                       24   upon Defendant in this matter.
                                       25                                        DIVERSITY
                                       26           A.   Citizenship
                                       27           7.   This is a civil action over which this Court has original jurisdiction under
                                       28   28 U.S.C. § 1332, in that it is a civil action wherein the matter in controversy exceeds
                                       30                                              -2-
                                                     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                       31                          §1441(B) (DIVERSITY)
                                        Case 2:19-cv-05594-MRW Document 1 Filed 06/27/19 Page 3 of 8 Page ID #:3



                                        1   the sum of $75,000, exclusive of interest and costs as Plaintiff claims to have sustained
                                        2   damages totaling over $75,000. This action is one that may be removed to this Court
                                        3   by Defendant pursuant to 28 U.S.C. § 1441(b), as the action is between citizens of
                                        4   different states.
                                        5          8.     Plaintiff, was, at the time of the filing of this action, and presently
                                        6   remains, a resident and citizen of the State of California.
                                        7          9.     Defendant Dollar Tree Stores, Inc., is a corporation. For diversity
                                        8   purposes, a corporation is deemed to be a citizen of every state by which it has been
                                        9   incorporated and the state where it has its principal place of business. 28 U.S.C. §
                                       10   1332(c)(1). Defendant is incorporated in the State of Virginia, with its principal place
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                                       11   of business in Virginia. Accordingly, Defendant is a citizen of the state of Virginia.
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                                       12          10.    Therefore, complete diversity of citizenship exists as between Plaintiff
                                       13   and Defendant.
                                       14          B.     Fictitious Does
                                       15          11.    Defendants DOES 1 to 100, inclusive, are wholly fictitious. The
                                       16   Complaint does not set forth the identity or status of any said fictitious defendants. In
                                       17   determining whether a civil action is removable on the basis of jurisdiction under
                                       18   section 1332(a), the citizenship of defendants sued under fictitious names shall be
                                       19   disregarded. 28 U.S.C. § 1441(b)(1); Newcombe v. Adolf Coors Co., 157 F.3d 686,
                                       20   690-91 (9th Cir. 1998). Accordingly, the mere fact that the complaint makes reference
                                       21   to fictitious defendants does not destroy diversity jurisdiction and does not preclude
                                       22   this action from being properly removed to this Court.
                                       23                              AMOUNT IN CONTROVERSY
                                       24          12.    Plaintiff’s Complaint sets forth causes of action for premises liability and
                                       25   general negligence. See Exhibit “A.” Plaintiff alleges that on May 29, 2017, he was
                                       26   a customer at one of Defendant’s stores when he slipped and fell on a dirty floor
                                       27   suffering personal injuries. Pursuant to Plaintiff’s Statement of Damages, he is seeking
                                       28   $2,091,447.37 in damages. See Statement of Damages, Exhibit “A.”
                                       30                                               -3-
                                                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                       31                         §1441(B) (DIVERSITY)
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                                        1          13.     Although Plaintiff was prohibited under California law from stating a
                                        2   specific amount demanded in her Complaint, Defendant has been able to ascertain
                                        3   through “other paper” that the amount in controversy exceeds $75,000.00.1
                                        4          14.     Where a complaint does not allege a specific amount in damages, the
                                        5   removing defendant bears the burden of proving by a “preponderance of the evidence”
                                        6   facts that support an inference that the amount in controversy exceeds the statutory
                                        7   minimum. Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 376 (9th Cir. 1996);
                                        8   see McPhail v. Deere and Company, 529 F.3d 947, 955 (10th Cir. 2008) (“It is only
                                        9   the jurisdictional facts that must be proven by a preponderance—not the legal
                                       10   conclusion that the statutory threshold amount is in controversy.”). This standard is
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                                            not a “daunting” one, as courts recognize that unlike the “legal certainty test”
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                                       12   applicable where the complaint does allege a specific amount in damages, the
                                       13   removing defendant is not obligated to “research, state, and prove the plaintiff’s claim
                                       14   for damages.” McCraw v. Lyons, 863 F. Supp. 430, 434 (W.D. Ky. 1994); see also
                                       15   Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008).
                                       16          15.     A defendant must merely set forth the underlying facts supporting its
                                       17   assertion that the amount in controversy exceeds the statutory minimum. Stated
                                       18   another way, the defendant must establish jurisdiction by proving jurisdictional facts,
                                       19   i.e. proof of what the plaintiff is seeking to recover. McPhail v. Deere & Co., 529
                                       20   F.3d 947, 954-55 (10th Cir. 2008). “Once the facts have been established, uncertainty
                                       21   about whether the plaintiff can prove [h]is substantive claim, and whether damages (if
                                       22   the plaintiff prevails on the merits) will exceed the threshold, does not justify
                                       23   dismissal.” Meridian Secs. Ins. Co. v. Sadowski, 441 F.3d 540, 543 (7th Cir. 2006);
                                       24   see also McPhail, 529 F.3d at 954 (once underlying jurisdictional facts are proven, “a
                                       25   defendant (like a plaintiff) is entitled to stay in federal court unless it is ‘legally certain’
                                       26   that less than $75,000 is at stake”).
                                       27
                                            1
                                              California Law prohibits personal injury plaintiffs from stating a specific amount of damages sought
                                       28   in the complaint. See Cal. Code Civ. Proc. § 425.10.
                                       30                                                       -4-
                                                     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                       31                          §1441(B) (DIVERSITY)
                                        Case 2:19-cv-05594-MRW Document 1 Filed 06/27/19 Page 5 of 8 Page ID #:5



                                        1         16.    28 USC § 1446(b)(3) provides that, where the case stated by the initial
                                        2   pleading is not removable, a notice of removal shall be filed within 30 days after
                                        3   receipt by the defendant, through service or otherwise, of an amended pleading,
                                        4   motion, order “or other paper” from which it may first be ascertained that the case is
                                        5   one which is or has become removable. A statement of damages pursuant to California
                                        6   Code of Civil Procedure section 425.11, is a written statement setting forth the nature
                                        7   and amount of damages being sought, and constitutes “other paper” under section
                                        8   1446(b)(3). See Hanson v. Equilon Enterprises LLC (N.D.Cal. 2014) 2014 U.S. Dist.
                                        9   LEXIS 110795, *9 (finding statement of damages served on defendant by plaintiff
                                       10   constituted “other paper”).
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                                       11         17.    On May 30, 2019, Plaintiff served Defendant with a Statement of
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                                       12   Damages pursuant to Code of Civil Procedure section 425.11. Counsel for Defendant
                                       13   received this Statement of Damages by mail on or about May 30, 2019. A True and
                                       14   correct copy of Plaintiff’s Statement of Damage is attached hereto as Exhibit “A”.
                                       15   The Statement of Damages establishes that the amount in controversy in this litigation
                                       16   exceeds the $75,000 statutory minimum.
                                       17         18.    Plaintiff’s Statement of Damages states that he is seeking $2,091,447.37
                                       18   in damages. See State of Damages, Exhibit “A.” Thus, the amount in controversy
                                       19   exceeds the $75,000.00 statutory minimum and federal jurisdiction is proper.
                                       20         19.    Plaintiffs’ Statement of Damages Exhibit “A” constitutes “other paper”
                                       21   and satisfies the amount in controversy requirement. Therefore, federal diversity
                                       22   jurisdiction is proper.
                                       23                             TIMELINESS OF REMOVAL
                                       24         20.    This Notice of Removal is timely filed in that it has been filed within
                                       25   thirty (30) days after receipt of the “other paper,” to wit, Plaintiff’s Statement of
                                       26   Damages served on May 30, 2019, first indicated that the amount in controversy
                                       27   exceeds $75,000 and the matter is removable. 28 U.S.C. § 1446(b)(3).
                                       28         21.    Further, the instant removal is within one year of the commencement of
                                       30                                             -5-
                                                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                       31                         §1441(B) (DIVERSITY)
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                                        1   the underlying action as required by 28 U.S.C. section 1446(c)(1). As noted, Plaintiff
                                        2   filed his Complaint on May 28, 2019.
                                        3         22.   For all of the foregoing reasons, this Court has original jurisdiction under
                                        4   28 U.S.C. §§ 1332 and 1441(b) and removal is proper at this time.
                                        5

                                        6    Dated: June 26, 2019                                THARPE & HOWELL, LLP
                                        7

                                        8

                                        9                                              By:       /s/ Roger W. Backlar
                                                                                                  CHARLES D. MAY
                                       10                                                         ROGER W. BACKLAR
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                                       11
                                                                                                  Attorneys for Defendant,
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                                       12                                                         DOLLAR TREE STORES, INC.
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                                                   NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                       31                        §1441(B) (DIVERSITY)
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